                                                                                                 FILED



                           IN THE UNITED STATES DISTRICT COURT
                                                                                              10:01 am, 7/18/23
                                FOR THE DISTRICT OF WYOMING
                                                                                           Margaret Botkins
                                                                                            Clerk of Court

BCB CHEYENNE LLC,


                  Plaintiff,
v.                                                            Case No. 23-CV-79-ABJ


MINEONE WYOMING DATA
CENTER LLC, MINEONE PARTNERS
LLC, TERRA CRYPTO INC, BIT
ORIGIN LTD, SONIC HASH LLC,

                  Defendants.



       MEMORANDUM AND ORDER REGARDING DISCOVERY MOTIONS AND
     DISPOSITIVE MOTIONS INCLUDING MOTIONS FOR SUMMARY JUDGMENT
            AND ANALOGOUS MOTIONS TO DISMISS IN CIVIL CASES



        This Memorandum and Order addresses motions for discovery and dispositive motions,

including motions for summary judgment under Federal Rule of Civil Procedure 56, and motions to

dismiss under Rule 12(b)(6) that ask this Court to consider matters outside the pleadings. Hereafter,

the following procedure and rules shall obtain in all cases assigned to the Honorable Alan B.

Johnson and shall govern the conduct of counsel, parties, and unrepresented parties appearing pro se

in this matter.

        In view of the substantial waste of resources, public and private, that results from plainly

improper motions of these types, the parties shall: (1) strictly adhere to this Court’s Local Rule 7.1



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relating to non-dispositive motions and Local Rule 26.1, relating to discovery disputes; (b) not

designate a motion as one to dismiss an action under Rule 12(b)(6) when it is in essence a motion for

summary judgment; and (c) not file a summary judgment which must be denied after consideration

because some material factual assertion is in dispute.

                                          I. DISCOVERY

       Most discovery disputes, especially those dealing with (1) scheduling or calendaring issues;

(2) the number, length, or form of oral or written questions; (3) the responsiveness of answers to oral

or written questions; and (4) the mechanics of document production, including protective orders and

the proper method of raising claims of privilege, should be resolved by counsel without court

intervention. Therefore, the parties must strictly comply with Local Rule 7.1(b)(1)(A) and must

confer orally in person or by telephone regarding all discovery disputes. The Court will not permit

the filing of any written discovery motions without the Court=s prior approval. In the event that the

parties are unable to resolve a discovery dispute without court intervention prior to filing any written

discovery motion, the Court will attempt to resolve disputes as far as possible in an informal manner.

If the Court determines that a dispute requires a formal motion and briefing, the parties will be so

advised and deadlines for compliance will be established. No written motion on discovery disputes

will be considered unless this process has been strictly followed.

                      II. FED. R. CIV. P. 12(b)(6) MOTIONS TO DISMISS

       Federal Rule of Civil Procedure 12(b) authorizes the Court to treat a motion to dismiss an

action for failure to state a claim upon which relief can be granted as a motion for summary

judgment under Rule 56 if matters outside the pleadings are presented. In order to assure fair

procedure, however, this Court does not treat a Rule 12(b)(6) motion to dismiss as a motion for

summary judgment unless the non-moving party has received reasonable notice that a response of

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the type required by Rule 56 must be filed.

       In the rare instances where this Court treats a Rule 12(b)(6) motion to dismiss as one for

summary judgment, it does so only to proceed promptly to a disposition and to avoid needless filings

by counsel and the parties. The Court intends never to allow any party to gain an advantage by filing

a Rule 12(b)(6) motion that refers to matters outside the pleadings (whether by attaching affidavits or

through some other mechanism) in the hope that it will be treated as a motion for summary

judgment.

       For these reasons and as a practical matter, the Court may simply deny a Rule 12(b)(6)

motion to dismiss when the motion relies on facts and matters asserted outside the pleadings. By

referring to matters outside the pleadings, the moving party impliedly represents that the Court

should consider such material. Accepting that representation as correct, the Court will deny the

motion unless summary judgment is appropriate. Unquestionably, summary judgment is not

appropriate before the opposing party has had a reasonable opportunity to file a response that

demonstrates a dispute of material fact.

       Of course, a denial of such a Rule 12(b)(6) motion to dismiss will not bar the moving party

from later contending that neither the pleading of the claim nor the evidence on record asserts a

claim upon which relief can be granted. Such a contention goes to the legal merits of the claim and

may be asserted at any time before judgment is entered as a motion for judgment on the pleadings

under Federal Rule of Civil Procedure 12(c) or as a motion for summary judgment under Rule 56.

Counsel and the parties must comply with all discovery deadlines and dispositive motion filing

deadlines that are established by this Court in any order governing scheduling and case management

of the case.

    III. DISPOSITIVE MOTIONS FOR SUMMARY JUDGMENT AND CERTAIN RULE


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                                 12(b)(6) DISPOSITIVE MOTIONS

          To the Court=s concern, parties frequently file motions for summary judgment (or Rule

12(b)(6) motions to dismiss which depend on factual assertions not contained in the pleadings)

before they are able to effectively demonstrate that the essential facts are undisputed. Perhaps this is

explained by some fear that either the Court or opposing counsel may assert that the moving party

has waived its opportunity to present such a motion. Such a fear is unwarranted. Rule 56 clearly

states that motions for summary judgment may be filed at a later time without danger of waiver, so

long as the motion is filed in accordance with the deadlines established by this Court in any order

establishing schedules and case management guidelines for the case.

          If counsel for the moving party knows that even one of the facts essential to a motion for

summary judgment is in dispute, then the motion cannot properly be filed. As stated in Rule 11,

counsel=s signature on a motion certifies that, to the best of your Aknowledge, information, and

belief formed after reasonable inquiry, it is well grounded in fact and is warranted by existing law or

a good faith argument for the extension, modification, or reversal of existing law, and that it is not

interposed for any improper purpose[.]@ If counsel knows that some essential and material fact in

the case is in dispute, such certification is not proper even if counsel believes that the evidence is

heavily weighted toward a favorable finding.

          Bear this in mind: In deciding a motion for summary judgment, the Court cannot properly

make findings on disputed issues of fact. It cannot weigh evidence. If evidence must be weighed,

then it must be weighed at trial and the motion for summary judgment must be, and should be,

denied.

          In addition, a motion for summary judgment cannot be granted when, given the state of

discovery, it is not yet possible to ascertain whether essential assertions of fact made by the moving

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party will be in genuine dispute. In such circumstance, a motion requesting summary judgment is

premature. It is a misuse of the time and resources of counsel, the parties, and the Court for a party

to file a motion for summary judgment before filing requests for admissions or employing other

discovery devices designed to reveal whether the factual assertions upon which a summary judgment

motion is based are in dispute.

       A motion under Rule 56 is timely filed when the pleadings clearly present no genuine issues

of material fact. In cases pending before this Court, parties are urged to defer filing motions for

summary judgment before discovery is complete or where there is any doubt that some fact upon

which the motion is premised will be disputed. However, this does not excuse any party from

complying with all discovery deadlines and dispositive motion filing deadlines established by this

Court in any order governing scheduling and case management of the case, unless otherwise ordered

by the Court.

       These comments are not intended to discourage the filing of a motion for summary judgment

before expenses are incurred in extended discovery if the motion is grounded on a legal theory

under which the many factual controversies in the case are irrelevant. If counsel or a party files

such a motion, however, it is improper under Rule 11 to add to the motion other grounds regarding

facts which are in dispute. A subsequent motion for summary judgment may be filed on such

additional grounds if it becomes apparent after full discovery that the essential facts on which the

additional motion is based are indeed not in dispute. Once again, this does not excuse any party

from complying with all discovery deadlines and dispositive motion filing deadlines established by

this Court in any order governing scheduling and case management of the case, unless otherwise

ordered by the Court.

       Motions for summary judgment should present only legal questions. In deciding such


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motions, the Court rules on questions of law and does not weigh evidence. See Anderson v. Liberty



Lobby Inc., 106 S.Ct. 2505 (1986); Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 106

S.Ct. 1348 (1986).

                          IV. REQUIREMENTS FOR SUBMISSIONS

       The Court further requests assistance in the resolution of motions for summary judgment in

the following manner.

       Each motion for summary judgment shall include a statement of the material facts of

record as to which the moving party contends there is no genuine issue of material fact for

trial, complete with page and pinpoint references to affidavits, depositions and other

documentation, if any are included or attached. Failure to include such a statement may

constitute grounds for denial of the motion.

       The party opposing the motion for summary judgment shall include a concise statement

of the material facts of record as to which it contends that there exists a genuine issue for trial,

complete with page and pinpoint references to affidavits, depositions and other documentation.

       Copies of all referenced documentation shall be filed as exhibits to the motion or opposition.

In the event that such referenced documentation is voluminous, the parties are requested to supply a

hard copy of same to the Court contemporaneously with the filing of the motion or opposition.

       Material facts set forth in the statement served by the moving party will be deemed

undisputed for purposes of the motion unless the statement served by the opposing party asserts facts

to the contrary.

       Counsel for a moving party are advised that the required statement shall be a Aconcise

statement of the material facts.@ Fed. R. Civ. P. 56 (emphasis added). It should be limited to facts

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that are undisputed and essential to judgment on each and every legal theory advanced. The

moving party should also bear in mind that the longer a fact statement is, the more likely it is that an

opponent will find some fact worthy of dispute. If an opponent disputes any part of a statement of

facts, the moving party must establish that the opponent has no evidence (not merely less weighty

evidence) to support the assertion that the questioned fact is one in genuine dispute. A genuine

dispute on one essential fact defeats a motion for summary judgment.

        Counsel and pro se parties must strictly comply with these requirements. Motions that do not

comply with these requirements are subject to being stricken or denied without further notice or

hearing.

                                 V. WITHDRAWAL OF MOTIONS

        Finally, if counsel files a motion for summary judgment and at any time thereafter is not

prepared to certify that no genuine dispute exists as to any of the facts on which the relevant legal

theory is based, counsel has a professional obligation to this Court to notify the Court and opposing

counsel of that fact. The motion will be treated as withdrawn without prejudice to renewal if, at a

later time, counsel is able to certify that it appears that no genuine dispute exists as to any of the facts

on which the relevant legal theory is based. Again, counsel are reminded that this will not excuse

compliance with all discovery deadlines and dispositive motion filing deadlines that are established

by this Court in any order governing scheduling and case management of the case, unless otherwise

ordered by the Court.

        Dated this 18th day of July, 2023.


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                                                          ALAN BB. JOHNSON
                                                          UNITED STATES DISTRICT JUDGE



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